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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                        CASE NO.: 1:12cr6-SPM

LETARON MAURICE GORDON,

     Defendant.
__________________________/

                  ORDER DENYING MOTION FOR NEW TRIAL

       This cause comes before the Court on Defendant’s Motion for New Trial

(doc. 134) and the Government response in opposition (doc. 139). A court may

grant a new trial under Federal Rule of Criminal Procedure 33 “if the interest of

justice so requires.” Fed. R. Crim. P. 33. A new trial is not warranted in this case.

       Defendant’s first argument for granting a new trial concerns the Court’s

decision to give a curative instruction, rather than order a mistrial, after Sergeant

Brett Rowlands gave testimony suggesting that Defendant had a criminal history

that included narcotics violations. The Court stands by its decision to give the

curative instruction. Sergeant Rowlands testimony, while improper, was not so

prejudicial that it could not be cured by the Court’s instruction.

       Defendant’s second argument for granting a new trial concerns the

sufficiency of the evidence to show Defendant’s participation in the conspiracy
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and his possession of marijuana. Co-defendant Williams testified that once a

month he fronted marijuana to Defendant, meaning Williams gave the marijuana

to Defendant on credit and Defendant paid for it afterward with the money he

made from selling it. According to Williams, in the beginning the amount he

fronted to Defendant was approximately 5 pounds, but it later increased to 20

pounds. Co-defendant Jankowski testified that approximately four times after

receiving shipments at the warehouse she delivered a bale of marijuana to

Defendant. On February 8, 2012, after Williams and Jankowski received a

shipment at the warehouse and transported the bales to the stash house,

Defendant met Jankowski and Williams at the stash house and picked up a bale

of marijuana. That bale was later seized from Defendant’s van during a traffic

stop.

        This evidence was sufficient to establish an on-going conspiracy between

Defendant, Williams, and Jankowski to distribute and possess with intent to

distribute marijuana as charged in the indictment. The evidence was also

sufficient to establish Defendant’s possession of marijuana. The jury found that

the marijuana involved in each count was less than 50 kilograms1, which is also

consistent with the evidence at trial.


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         Defendant argues in his motion that the evidence was insufficient to
establish his possession with intent to distribute more than 100 kilograms of
marijuana. The jury’s verdict, however, was that the amount of marijuana was
less than 50 kilograms.
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        Defendant’s final argument concerns the prosecutor’s reference during

closing argument to facts not in evidence concerning Williams’ testimony. The

Court’s recollection of Williams’ testimony is that on redirect examination Williams

testified that he began cooperating immediately upon his arrest and told Agents

Griffiths and DeVinny about his involvement and his co-defendants’ involvement

in the drug activities. Assuming, however, that Defendant is correct about the

evidence, the Court instructed the jury at the beginning of the case and again

before deliberations that what the lawyers say is not evidence. The Court also

instructed the jury that it is their own individual and collective recollection of the

evidence that controls.

        Given all of the circumstances, the Court finds that there are no grounds

that would warrant granting a new trial in this case. Accordingly, it is

        ORDERED AND ADJUDGED: Defendant’s Motion for New Trial (doc. 134)

is denied.

        DONE AND ORDERED this 21st day of August, 2012.


                                            s/ Stephan P. Mickle
                                            Stephan P. Mickle
                                            Senior United States District Judge




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